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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Neal L. Fisher, M.D., P.A., d/b/a Paragon        §
Anesthesia    Associates;    Paragon   Office    §
Services, LLC; Paragon Ambulatory Health         §
Resources,    LLC;     Paragon     Ambulatory    §
Physicians Services, P.A.; and Office Surgery    §
Support Services, LLC,                           §
                                                 §
        Plaintiffs and Counter-Defendants,       §
                                                 §
v.                                               §
                                                 §
Blue Cross Blue Shield of Texas, a Division of §           No. 3:10-CV-02652-L
Health Care Service Corporation, a Mutual §
Legal Reserve Company,                           §
                                                 §
        Defendant, Counter-Plaintiff, and Third- §
        Party Plaintiff,                         §
                                                 §
v.                                               §
                                                 §
Neil L. Fisher, MD a/k/a Neal Leon Fisher, MD, §
                                                 §
        Third-Party Defendant.                   §
                                                 §

     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO RULE 41

        Pursuant to Rules 41(a)(1)(A)(ii) and 41(c) of the Federal Rules of Civil Procedure,

Plaintiffs, Neal L. Fisher, Neal L. Fisher, M.D., P.A., d/b/a Paragon Anesthesia Associates,

Paragon Office Services, LLC, Paragon Ambulatory Health Resources, LLC, Paragon

Ambulatory Physicians Services, P.A. and Office Surgery Support Services, LLC, and Defendant

Blue Cross and Blue Shield of Texas, a division of Health Care Service Corporation, a Mutual

Legal Reserve Company, hereby stipulate to the dismissal of all claims and counterclaims

asserted in this cause with prejudice.



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Date: March 6, 2017                         Respectfully submitted,



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Neal L. Fisher, M.D., P.A., d/b/a Paragon   Blue Cross and Blue Shield of Texas, A
Anesthesia Associates, Paragon Office       Division of Health Care Service Corporation,
Services, LLC, Paragon Ambulatory           A Mutual Legal Reserve Company
Health    Resources,    LLC,      Paragon
Ambulatory Physicians Services, P.A. and
Office Surgery Support Services, LLC




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
has been served on all counsel of record via CM/ECF on this the 6th day of March, 2017, in
accordance with the Federal Rules of Civil Procedure.


                                                /s/ F. Leighton Durham, III
                                                F. Leighton Durham




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